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|N THE UN|TED STATES DESTRICT COURT

SOUTHERN DlSTRlCT OF |LLINO|S

T|MOTHY ROSE,
Case No.: 3:16-Cv-151
Plaintiff,
]URY TR|AL REQUESTED
vs.
Removed from Circuit Court of
Madison County, |||inois

NO.: 'lE-L-'l67‘l

O'RE|Li_Y AUTO PARTS,

Defendant.
NOTICE OF REMOVAL

COME NOW Defendant, O'RE|LLY AUTOMOT|VE STORES, lNC., misnamed as
O'RE|LLY AUTO PARTS, by and through its attorneys, BETH C. BOGGS and BOGGS,
A\/ELLlNO, LACH & BOGGS, L.L.C., pursuant to 28 U.S.C. § 1441 and 28 U.S.C.§1446, and
for its Notice of Removal, states to the Court as follows:

1. This action entitled T:'mothy R'O$e V. O’Rei//yAuro Pa/Ts Was Comrnenced in the
Circuit Court for the County of Madison, Third judicial Circuit, State of |i|inois, on or about
Decernber 29, 2015.

2. The attached Complaint was served upon O'Reilly Automotive Stores, lnc. on
january 11, 2016.

3. Upon information and belief, Defendant states that Plaintiff is a resident of
||linois and is a Citizen of the State of l|linois.

4. Defendant, O'Reil ly Automotive Stores, lnc. is a Missouri corporation, having its
principal place of business in the State of Missouri. Therefore, for purposes of diversity,

Defendant is a citizen of Missouri.

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5. Defendant asserts that complete diversity exists, as Defendant is a citizen and
resident of the State of Missouri for the purposes of federal jurisdiction, and has its principal
place of business in the State of Missouri. See 28 U.S.C. § 1332(c)(1).

6. This is an action over which this Court has original jurisdiction under the
provisions of 28 U.S.C. § 1332, in that the matter in controversy, exclusive of interest and
costs, exceeds the sum of Seventy-Five Thousand Dollars ($75,000.00) and is between citizens
of different states. The P|aintiff claims injuries from a slip and fall and claims that he has
suffered severe and permanent injuries. The Comp|aint provides that the P|aintiff was caused
to fall and suffer significant injuries. See Plaintiff’s Complaint, Paragraph 5. Plaintiff’s counsel
indicates the injuries are to the bac|<, neck and knee. Plaintiff is also claiming lost Wages and
earning capacity from his job as an engineer at Boeing.

7. Copies of all processes, pleadings, orders, records, and proceedings in Madison
County are attached to this Notice of Removal.

8. Defendant has filed this Notice of Remova| within 30 days after the service of
the Comp|aint from which it Was first ascertained that this case was removab|e.

WHEREFORE, Defendant, O'Rei||y Automotive Stores, |nc. respectfully requests that
this Court acknowledge jurisdiction over this action, and allow removal thereto to this Court

for determination of all issues involved herein.

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CERTIF|CATE OF SERV|CE

The undersigned hereby certifies that a true and correct copy of the foregoing
document was electronically filed via the Court’s CM/ECF filing system forthe United States
District Court for the Southern District of illinois and electronically forwarded this _'@ day of

Februagf 2016, to:

Mr. Grey Chatham, jr. #6312518
Chatham & Baricevic

107 West Main Street

Belleville, lL 62220

(618) 233-2200

Attorneys for Plaintiff

/s/ Beth C. Boqgs

